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         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                    UNITED STATES DISTRICT COURT
                                                       Eastern District of Arkansas

            UNITED STATES OF AMERICA
                       V.
                                                                               Case Number:           4:05-CR-00327-01-SWW
                     DONDRICK JAMES
                                                                               USM Number:            24160-009

Date of Original Judgment: August 18, 2008                                     Chris Tarver
(Or Date of Last Amended Judgment)                                             Defendant’s Attorney

      Upon motion of X the defendant        G the Director of the Bureau of Prisons     G the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion,

      IT IS ORDERED that the motion is:
             G DENIED.
             X GRANTED and the defendant’s previously imposed sentence of imprisonment of
                   168 months is reduced to 110 months, which is TIME SERVED on November 1, 2011.

I. COURT DETERMINATION OF GUIDELINE RANGE

 Previous Offense Level(Before       32                                           Amended Offense Level:          28
 Departure/Variance/Rule 35):

 Criminal History Category:          IV                                           Criminal History Category:      IV

 Previous Guideline Range:           168 to 210 months                            Amended Guideline Range:        110 to 137 months



II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

X The reduced sentence is within the amended guideline range.
G The original term of imprisonment imposed was less than the guideline range applicable to the defendant at the
       time of sentencing and the reduced sentence is below the amended guideline range.
G Other (specify) __________________________.

III. FURTHER EXPLANATION (e.g., recommendations to the Bureau of Prisons) (if necessary)

The Order is effective immediately on November 1, 2011, if Congress does not override the United Sentencing Commission’s
determination that the new guidelines are retroactive. If Congress determines that the amendments are not retroactive, this
Order will be void and vacated.

Except as provided above, all provisions of the judgment dated December 20, 2006 will remain in effect.

IT IS SO ORDERED.

Order Date: October 21, 2011                                                     /s/Susan Webber Wright
                                                                                 United States District Judge

Effective Date (if delayed): November 1, 2011
